Case 1:23-cv-22798-BB Document 4 Entered on FLSD Docket 07/31/2023 Page 1 of 6



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           Case No. 23-cv-22798-BLOOM/Otazo-Reyes

 JOHNNY L. PARTIDAS OLMEDO,

         Plaintiff,

 v.

 CLEANER’S GURU LLC, a Florida
 Limited Liability Company d/b/a
 TOTAL G TELECOM, and
 RAFAEL E. HERNANDEZ,
 individually,

       Defendants.
 ________________________________/

                       ORDER REQUIRING SCHEDULING REPORT
                      AND CERTIFICATES OF INTERESTED PARTIES 1

         THIS CAUSE is before the Court upon a sua sponte review of the record. Within twenty-

 one (21) days of an appearance by a Defendant in this case, the parties are directed to prepare

 and file a joint scheduling report, as required by Local Rule 16.1. The joint scheduling report and

 proposed order shall include all information required by Local Rule 16.1(b)(2) and (3). In addition,

 at the time of filing the joint scheduling report, the parties, including governmental parties, must

 file certificates of interested parties and corporate disclosure statements that contain a complete

 list of persons, associated persons, firms, partnerships, or corporations that have a financial interest

 in the outcome of this case, including subsidiaries, conglomerates, affiliates, parent corporations,

 and other identifiable legal entities related to a party (to the extent they have not already done so).

 Throughout the pendency of the action, the parties are under a continuing obligation to amend,




 1
  The parties must not include Judge Bloom and the assigned U.S. Magistrate Judge as interested parties
 unless they have an interest in the litigation.
Case 1:23-cv-22798-BB Document 4 Entered on FLSD Docket 07/31/2023 Page 2 of 6

                                                      Case No. 23-cv-22798-BLOOM/Otazo-Reyes


 correct, and update the certificates.

        Detailed Discovery Schedule: Local Rule 16.1(a) provides for a differentiated case

 management system based on the complexity of each case and the requirement for judicial

 involvement. That system categorizes cases along three case management tracks: expedited,

 standard, or complex.

            •   Expedited track cases are relatively non-complex, require 1 to 3 days of trial, and
                between 90 and 179 days for discovery from the date of the scheduling order.
            •   Standard track cases require 3 to 10 days of trial, and between 180 and 269 days
                for discovery from the date of the scheduling order.
            •   Complex track cases are unusually complex, require over 10 days of trial, and
                between 270 and 365 days for discovery from the date of the scheduling order.

 “The following factors [are] considered in evaluating and assigning cases to a particular track: the

 complexity of the case, number of parties, number of expert witnesses, volume of evidence,

 problems locating or preserving evidence, time estimated by the parties for discovery and time

 reasonably required for trial, among other factors.” S.D. Fla. L.R. 16.1(a)(3).

        Fed. R. Civ. P. 26(b)(1) allows discovery regarding any nonprivileged matter that is

 relevant to any party’s claim or defense and proportional to the needs of the case, considering the

 importance of the issues at stake in the action, the amount in controversy, the parties’ relative

 access to relevant information, the parties’ resources, the importance of the discovery in resolving

 the issues, and whether the burden or expense of the proposed discovery outweighs its likely

 benefit. The parties shall participate in good faith in developing a detailed discovery plan,

 including any agreed-upon limitation on scope, frequency and the extent of discovery. The parties

 shall include in their scheduling report any unique discovery matters, including any electronically

 stored information that should be preserved and accessed. The parties shall establish a detailed

 schedule for the preservation, disclosure and access of each different type or category of

 electronically stored information.


                                                  2
Case 1:23-cv-22798-BB Document 4 Entered on FLSD Docket 07/31/2023 Page 3 of 6

                                                         Case No. 23-cv-22798-BLOOM/Otazo-Reyes


        Consistent with the differentiated case management system, other relevant local rules (such

 as Local Rule 16.2, regarding mediation), and the twin goals of expeditious and attentive case

 management, the Court anticipates the following scheduling deadlines in the run of cases:

        •   Selection of a mediator and scheduling of a time, date and place for mediation within
            30 days of the scheduling order.
        •   Deadline to amend pleadings and join parties within 60 days of the scheduling order.
        •   Completion of all discovery consistent with the case management track guidelines, and
            120 days prior to trial.
        •   Completion of mediation prior to the deadline for dispositive pre-trial motions.
        •   Deadline for dispositive pre-trial motions and Daubert motions (which include motions
            to strike experts) 100 days prior to trial.
        •   Deadline for submission of joint pre-trial stipulation, proposed jury instructions and
            verdict form, or proposed findings of fact and conclusions of law, as applicable, 40
            days prior to trial.
        •   Calendar call one week prior to trial.

 Those deadlines are not exhaustive of deadlines which may be set in the scheduling order.

        The parties should address their joint scheduling report and their proposed pre-trial

 deadlines both to the differentiated case management system and to the Court’s anticipated

 deadlines. The parties are encouraged to explain their proposed deadlines in light of those

 overarching guidelines, including as to the factors listed in Local Rule 16.1(a)(3). The parties are

 cautioned that if they fail to submit a joint scheduling report by the applicable deadline, the

 Court may unilaterally set this case on a case management track in accordance with Local

 Rule 16.1(a) and calculated as if the scheduling report had been timely filed.

        As part of the joint scheduling report, the parties shall jointly complete and file with the

 Court the Election to Jurisdiction by a United States Magistrate Judge for Final Disposition of

 Motions appended to this Order as Attachment A. The Court will not accept unilateral

 submissions. A “Yes” should be checked only if all parties agree. If the parties consent to a full

 disposition of the case by the Magistrate Judge, including trial and entry of final judgment, the


                                                     3
Case 1:23-cv-22798-BB Document 4 Entered on FLSD Docket 07/31/2023 Page 4 of 6

                                                        Case No. 23-cv-22798-BLOOM/Otazo-Reyes


 parties shall jointly file the Election to Jurisdiction form appended to this Order as Attachment

 B. The parties are advised that even if they do not consent to jurisdiction by the Magistrate Judge,

 in accordance with 28 U.S.C. § 636(b), the Court may still refer motions to the Magistrate Judge

 for a report and recommendations.

         The parties are advised that the failure to comply with any of the procedures contained in

 this Order or the Local Rules may result in the imposition of appropriate sanctions, including,

 but not limited to, the dismissal of this action or entry of default.

         DONE AND ORDERED in Chambers at Miami, Florida, on July 28, 2023.




                                                            _________________________________
                                                            BETH BLOOM
                                                            UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record




                                                    4
Case 1:23-cv-22798-BB Document 4 Entered on FLSD Docket 07/31/2023 Page 5 of 6



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 23-cv-22798-BLOOM/Otazo-Reyes

 JOHNNY L. PARTIDAS OLMEDO,

        Plaintiff,

 v.

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 Limited Liability Company d/b/a
 TOTAL G TELECOM, and
 RAFAEL E. HERNANDEZ,
 individually,

       Defendants.
 ________________________________/

               ELECTION TO JURISDICTION BY A UNITED STATES
            MAGISTRATE JUDGE FOR FINAL DISPOSITION OF MOTIONS

        In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to the
 above-captioned civil matter hereby jointly and voluntarily elect to have a United States Magistrate
 Judge decide the following motions and issue a final order or judgment with respect thereto:
        1. Motions for Costs                          Yes _____ No _____
        2. Motions for Attorney’s Fees                Yes _____ No _____
        3. Motions for Sanctions                      Yes _____ No _____
        4. Motions to Dismiss                         Yes _____ No _____
        5. Motions for Summary Judgment               Yes _____ No _____



 ____________           ____________________________________________
 (Date)                 (Signature—Plaintiff’s Counsel or Plaintiff if pro se)



 ____________           ____________________________________________
 (Date)                 (Signature—Defendant’s Counsel or Defendant if pro se)


                                           Attachment A
Case 1:23-cv-22798-BB Document 4 Entered on FLSD Docket 07/31/2023 Page 6 of 6



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 23-cv-22798-BLOOM/Otazo-Reyes

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 TOTAL G TELECOM, and
 RAFAEL E. HERNANDEZ,
 individually,

       Defendants.
 ________________________________/

                     MAGISTRATE JUDGE JURISDICTION FOR TRIAL

        In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to the
 above-captioned civil matter hereby jointly and voluntarily elect to have a United States Magistrate
 Judge conduct any and all further proceedings in the case, including TRIAL, and entry of final
 judgment with respect thereto.



 ____________           ____________________________________________
 (Date)                 (Signature—Plaintiff’s Counsel or Plaintiff if pro se)



 ____________           ____________________________________________
 (Date)                 (Signature—Defendant’s Counsel or Defendant if pro se)




                                           Attachment B
